Case 1:22-cv-22981-JEM Document 28 Entered on FLSD Docket 08/23/2023 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case Number: 22-22981-CIV-MARTINEZ-BECERRA
SAVE OUR ALLIES, LLC,
Plaintiff,
VS.

GREGORY GUSTIN, ef al.,

Defendants.
/

ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

THIS MATTER was referred to the Honorable Jacqueline Becerra, United States
Magistrate Judge, for a Report and Recommendation (“R&R”) on Plaintiff's Motion for Default
Judgment (“Motion”), (ECF No. 18). Judge Becerra filed an R&R recommending that the Motion
be granted in part and denied in part. (ECF No. 27). The Court has reviewed the entire file and
record, and notes that no objections have been filed.

Accordingly, after careful consideration, it is hereby ADJUDGED that Judge Becerra’s
R&R, (ECF No. 27), is AFFIRMED and ADOPTED. Further, it is ADJUDGED and
ORDERED that Plaintiff's Motion for Default Judgment, (ECF No. 18), is GRANTED in part
and DENIED in part as set forth below:

1, As to Counts I and H, default judgment is GRANTED against Ravenswood.
Plaintiff shall be awarded $735,128.00 in compensatory damages as to Counts I and II.

2. As to Counts III and VI, default judgment is GRANTED against Ravenswood.
Plaintiff shall be awarded $290,000.00 in compensatory damages as to Counts II and VI.

3. As to Count IV, default judgment is GRANTED against Ravenswood. Plaintiff

Case 1:22-cv-22981-JEM Document 28 Entered on FLSD Docket 08/23/2023 Page 2 of 2

shall be awarded $870,000.00 in treble damages as to Count IV.

4, As to Count V, the Motion is DENIED.

5. As to Plaintiff's request for pre-judgment interest, post-judgment interest, and
attorneys’ fees and costs, the Motion is DENIED WITHOUT PREJUDICE. Plaintiff shall be
permitted to submit supporting evidence and argument as to its pre-judgment interest, post-

judgment interest, and reasonable attorneys’ fees and costs.

DONE AND ORDERED in Miami, Florida, this 2A day of August, 2023.

yor <M

Copies provided to: JOSE E {MARTINEZ
Magistrate Judge Becerra ay STATES DISTRICT JUDGE
All Counsel of Record

